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11
12                       UNITED STATES DISTRICT COURT
13
                        SOUTHERN DISTRICT OF CALIFORNIA
14   SHELIA EDWARDS, individually, and )
15   on behalf of all others similarly situated, ) Case No.: 3:22-cv-0689-LL-BGS
                                                 )
16                 Plaintiff,                    ) (Honorable Linda Lopez)
                                                 )
17         vs.                                   ) NOTICE OF APPEARANCE
                                                 )
18   DIALAMERICA MARKETING, INC., )
                                                 )
19                 Defendant.                    )
                                                 )
20
            Kindly enter my appearance on behalf of Defendant, DialAmerica Marketing,
21
     Inc.
22
23   Dated: June 10, 2022

24                                               MULLEN COUGHLIN, LLC
25
26                                        By:     /s/James Monagle
                                                 James Monagle
27                                               Attorneys for Defendant
28                                               DialAmerica Marketing, Inc.
                                             1
                                                                 NOTICE OF APPEARANCE
                                                                        Case No. 22cv0689
